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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:24CR3026

       vs.
                                                              ORDER
MATTHEW GLENN ERIKSEN,

                    Defendant.


       The court has been presented a Financial Affidavit (CJA Form 23) signed by
the above-named defendant in support of a request for appointed counsel. After
a review of the Financial Affidavit, I find that the above-named defendant is eligible
for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A,
and Amended Criminal Justice Act Plan for the District of Nebraska.

      IT IS ORDERED:

       The Federal Public Defender for the District of Nebraska is appointed to
represent the above named defendant in this matter. In the event that the Federal
Public Defender accepts this appointment, the Federal Public Defender shall
forthwith file an appearance in this matter. In the event the Federal Public
Defender should decline this appointment for reason of conflict or on the basis of
the Criminal Justice Act Plan, the Federal Public Defender shall forthwith provide
the court with a draft appointment order (CJA Form 20) bearing the name and other
identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order
to the Federal Public Defender for the District of Nebraska.

      DATED this 28th day of February, 2024.

                                              BY THE COURT:

                                              s/ Jacqueline M. DeLuca
                                              United States Magistrate Judge
